Case 2:18-cv-06296-JKS-CLW   Document 307-1    Filed 03/31/25   Page 1 of 4 PageID:
                                    3477



 ZAGER FUCHS, P.C.
 Michael T. Warshaw, Atty.#: 005171976
 119 Avenue at the Commons, Suite 4
 Shrewsbury, New Jersey 07702
 Phone: (732)747-3700
 Fax: (732) 758-9068
 Email: mwarshaw@zagerfuchs.com
 Attorneys for Defendant ACU Plasmold, Inc. LOCAL COUNSEL

 Edward W. Miller, Esq.
 821 Franklin Ave., Suite 209
 Garden City, NY 11530
 Telephone: (917) 770—9016
 Email: edmillerlaw@gmail.com
 Attorneys for Defendant ACU Plasmold, Inc., TRIAL COUNSEL

                      UNITED STATES DISTRICT COURT
                         DISTRICT OF NEW JERSEY
 _________________________________
 VISION INDUSTRIES GROUP, INC.,

                             Plaintiff,    Case No. 2:18-cv-6296 (ES) (CLW)

             -- against --

 ACU PLASMOLD, INC.,             ABC       MOTION IN LIMINE TO EXCLUDE
 COMPANIES 1-10 and              XYZ       EVIDENCE OF DEFENDANT ACU
 CORPORATIONS 1-10,                        REFUSING ORDERS

                        Defendants
 ________________________________




 Edward W. Miller, Esq.
 On the Brief
 Michael T. Warshaw, Esq.
 Of Counsel




                                                                        Page 1 of 4
Case 2:18-cv-06296-JKS-CLW         Document 307-1       Filed 03/31/25    Page 2 of 4 PageID:
                                          3478



                      MOTION IN LIMINE TO EXCLUDE EVIDENCE
                      OF DEFENDANT ACU REFUSING ORDERS

        Defendant seeks an order in limine excluding any evidence of Defendant ACU

 declining orders for window parts. Under the Agreement ACU has a right to decline orders:

        Under the Exclusive Distribution Agreement, there was no minimum
        purchase requirement imposed upon Vision. Nor was there any limitation on
        Vision’s right to buy casement window parts from other manufacturers or
        manufacturing casement window parts itself. The Agreement provided that
        Vision’s orders “shall be subject to acceptance by the Factory and shall
        not be binding until written confirmation of the order.” (Agreement,
        Section 4.2.).

 Parties’ Joint Statement of the Case, Doc No. 305, at 3 (emphasis added).

        The clause is unambiguous; it expressly preserves Defendant ACU’s right not to

 accept orders. The Agreement’s only limitations upon Defendant were that Defendant

 could not sell in the U.S. (other than one exception) to anyone other than Plaintiff and that

 Defendant had to give his “best price” to Plaintiff.

        Plaintiff was the drafter of the Agreement:

        “On October 28th Luke Liang sent Alvin Zhuo a draft contract, which Mr.
        Liang represented he had, ‘modified myself from a mostly boilerplate format.’
        Mr. Zhou signed the proposed contract which Mr. Liang sent him, without any
        edits or changes.”

 Parties’ Joint Statement of the Case, Doc No. 305, at 2-3.

        “Contra preferentem” (against the offeror) is an ancient common law rule.

 Ambiguities are interpreted against the drafter: “the common law rule of contract

 construction that an ambiguous term be interpreted against the drafter.” United States Steel

 Corporation Plan for Employee Insurance Benefits v Musisko, 885 F.2d 1170 (3rd Cir.




                                                                                   Page 2 of 4
Case 2:18-cv-06296-JKS-CLW          Document 307-1        Filed 03/31/25     Page 3 of 4 PageID:
                                           3479



 1989).1 Thus, even were there an ambiguity in the clause providing that “Vision’s orders

 shall be subject to acceptance by the Factory and shall not be binding until written

 confirmation of the order” (there is no ambiguity), it would be interpreted against the drafter,

 i.e. Plaintiff.

         The equitable principle underlying the rule is to protect parties with lesser bargaining

 power from potential exploitation due to ambiguous contractual terms. Here, there is “more

 likely than not” evidence of fraud. Plaintiff’s owner Luke Liang represented to Defendant’s

 owner that, “he had, ‘modified myself from a mostly boilerplate format.’” But the contract

 was, obviously, drafted by a lawyer. Relying upon Mr. Liang’s false representation that he

 had “modified myself from a mostly boilerplate format,” and the obvious implication that Mr.

 Liang had not involved a lawyer, Mr. Zhuo did not have the proposed contract reviewed by

 a lawyer. Mr. Zhuo simply signed the contract as was, without any edits, and returned the

 executed contract to Mr. Liang.

         The terms of the contract are self-serving for Plaintiff who has no obligations at all

 (other than paying for its own advertising). Thus the contract itself is attackable as an

 illusory contract or the fruits of fraud. But assuming that it is an enforceable contract, the

 circumstances would call for a full-throated application of the rule of interpreting all possible

 inferences against the drafter and in favor of the non-drafter.

         This is probably the first ever “exclusive dealership agreement” where the “dealer” is

 not bound to buy exclusively from the manufacturer and is free to buy from anyone or to



 1
   “These conflicting provisions—[Redacted] [Redacted] —creates an ambiguity. When
 language in a contract is determined to be ambiguous, it is interpreted against the drafter.”
 Jacob v. Steward Partners Glob. Advisory, 1-23-CV-01179 (W.D. Texas Sept. 27 2024).

                                                                                       Page 3 of 4
Case 2:18-cv-06296-JKS-CLW          Document 307-1        Filed 03/31/25     Page 4 of 4 PageID:
                                           3480



 manufacture the parts himself, and has no minimum purchases or payment obligations. It is

 a free grant of exclusive rights to sell Defendant’s products. Thus, it is only fair that the

 Agreement provides no requirement on the manufacturer to sell anything to the dealer (the

 Agreement in a one-sided provision, bars Defendant from selling to anyone else besides

 Plaintiff).

         But there are no ambiguities to interpret. The contract expressly unequivocally

 preserves Defendant’s right not to accept orders from Plaintiff.

         Accordingly, for all these reasons, this Court should issue an order in limini excluding

 from evidence any evidence of Defendant ACU declining orders for window parts.




                                                                                      Page 4 of 4
